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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

CLERK’S MINUTES - GENERAL

CASENO. CV119-074 DATE January 10, 2020
Discotheque et al v. Augusta-Richmond County, GA et al
TITLE
TIMES 1:59 pm - 2:49 pm TOTAL 50 min.
Honorable : J. Randal Hall, Chief Judge, U.S. District Court Courtroom Deputy : Lisa Widener
Court Reporter : Lisa Davenport Interpreter :
Attorney for Plaintiff Attorney for Defendant(s) Attorney for
Cary S. Wiggins Randolph Frails

William Sussman

PROCEEDINGS : gyOW CAUSE HEARING In Court

[| In Chambers

_All parties present and ready to proceed.

 

After hearing from the parties, the Court orders Plaintiff brief due no later than
Monday, 01/20/2020. The Defendants have seven days thereafter to response. __

 

 

 

 

 

 

 

 

 

 

 

(Rev 7/2003) GENERAL CLERK’S MINUTES
